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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
MARK WARREN PEARY, individually and in his
capacity as executor of the Estate of Joseph Shuster,

                                   Plaintiff,
                 -against-                                                  25 CIVIL 0910 (JMF)

                                                                               JUDGMENT
DC COMICS, INC. et al.,

                                    Defendant.
----------------------------------------------------------------X

          It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated April 24, 2025 and Order dated May 8, 2025, the

Court concludes that it lacks subject-matter jurisdiction over this case; the case therefore must be

and is dismissed. Accordingly, the Court need not and does not address Defendants' alternative

argument that the case should be transferred to another federal district. See ECF No. 31, at 12.

Additionally, given the Court's lack of jurisdiction, Peary's motion for a preliminary injunction

must be and is denied as moot. Judgment is entered in favor of the defendants and the case is

closed.

Dated: New York, New York

          May 9, 2025


                                                                         TAMMI M HELLWIG
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